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EXHIBIT C
F.V. vs. Jeppesen, et al., Case No. 1:17-cv-000170-CWD



Summary of Plaintiffs’ counsels’ ADJUSTED hours and rates for Plaintiffs’ fee petition (fees-on-fees)



    Attorney                          Hours              Rate – 2021 Boise          Total Fee

    Peter Renn                        17.91              $370                       $6,615.60

    Nora Huppert                      16                 $220                       $3,528.80

    Kara Ingelhart                    3.4                $280                       $963.20

    Monica Cockerville                0.9                $410                       $360.80

    Jamie Farnsworth, Paralegal       1.8                $175                       $308.00

                             Total: 402                                             $11,776.40




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1The  number of hours allocated for the attorneys and paralegal is determined by adding the
total amount of time spent by these individuals on the attorney fee petition and then dividing
each individual’s time spent by the total to determine a percentage for each individual. That
percentage is then applied to the 40 hours defendants contend should be paid for plaintiffs’
preparation of the attorney fee petition. By way of example, Mr. Renn spent 77 hours of the
total 172.4 hours these plaintiffs’ counsel spent preparing the fee petition. The 77 hours Mr.
Renn spent in this regard is 44.7% of the total 172.4 hours. If the total reasonable hours spent is
40 hours, 44.7% of 40 hours is 17.9 hours. Thus, Mr. Renn’s adjusted hours, as indicated in the
table above, is 17.9 hours.
2Defendants have argued that the legal services of Covington lawyer, Colleen Smith, and the
other two Covington lawyers, Messrs. Lanosa and Belfer, were unnecessary and redundant in
the post-judgment proceedings. Therefore, in Defendants’ calculation of what constitutes a
reasonable fees-on-fees award for Plaintiffs, Ms. Smith’s time spent on the fee petition has
been removed.
